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 8                               UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
10                                    SAN JOSE DIVISION
11   IN RE: APPLE INC. DEVICE                     CASE NO. 5:18-md-02827-EJD
     PERFORMANCE LITIGATION,
12                                                CLASS ACTION
13                                                [PROPOSED] ORDER CERTIFYING
                                                  SETTLEMENT CLASS; GRANTING
14   This Document Relates To:                    PRELIMINARY APPROVAL OF CLASS
                                                  ACTION SETTLEMENT; AND
15         ALL ACTIONS.                           APPROVING FORM AND CONTENT OF
                                                  CLASS NOTICE
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     [PROPOSED] ORDER CERTIFYING SETTLEMENT CLASS; GRANTING PRELIMINARY APPROVAL OF CLASS
              ACTION SETTLEMENT; AND APPROVING FORM AND CONTENT OF CLASS NOTICE
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 1          WHEREAS, the Named Plaintiffs and Defendant Apple Inc. entered into a Settlement
 2   Agreement (Dkt. 416) on February 28, 2020, which, together with the exhibits and appendices thereto,
 3   sets forth the terms and conditions for a proposed resolution of this litigation and for its dismissal with
 4   prejudice;
 5          WHEREAS, this Court has reviewed the Settlement entered into by the Parties, all exhibits
 6   thereto, the record in this case, and the Parties’ arguments;
 7          WHEREAS, this Court preliminarily finds, for the purpose of settlement only, that the
 8   Settlement Class meets all the prerequisites of Federal Rule of Civil Procedure 23 for class certification,
 9   including numerosity, commonality, typicality, predominance of common issues, superiority, and that
10   the Named Plaintiffs and Class Counsel are adequate representatives of the Settlement Class;
11          GOOD CAUSE APPEARING, IT IS HEREBY ORDERED AS FOLLOWS:
12          1.        All terms and definitions used herein have the same meanings as set forth in the
13   Settlement Agreement.
14                Preliminary Certification of Settlement Class for Purpose of Settlement Only
15          2.        The Settlement is hereby preliminarily approved as fair, reasonable, and adequate such
16   that notice thereof should be given to members of the Settlement Class. Under Federal Rule of Civil
17   Procedure 23(b)(3), the Settlement Class, as set forth in paragraph 1.32 of the Settlement Agreement
18   and defined as follows, is preliminarily certified for the purpose of settlement only:
19                 All former or current U.S. owners of iPhone 6, 6 Plus, 6s, 6s Plus, 7, 7 Plus, and
                   SE devices running iOS 10.2.1 or later (for iPhone 6, 6 Plus, 6s, 6s Plus, and SE
20                 devices) or iOS 11.2 or later (for iPhone 7 and 7 Plus devices), and who ran these
                   iOS versions before December 21, 2017.
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     For purposes of this definition, “U.S. owners” shall include all individuals who owned, purchased,
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     leased, or otherwise received an eligible device, and individuals who otherwise used an eligible device
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     for personal, work, or any other purposes. An individual qualifies as a “U.S. owner” if his or her device
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     was shipped to the United States, its territories, and/or its possessions. The Settlement Class shall not
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     include iPhone owners who are domiciled outside of the United States, its territories, and/or its
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     possessions.     Additionally, excluded from the Settlement Class are (a) directors, officers, and
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     employees of Apple or its subsidiaries and affiliated companies, as well as Apple’s legal
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     [PROPOSED] ORDER CERTIFYING SETTLEMENT CLASS; GRANTING PRELIMINARY APPROVAL OF CLASS
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 1   representatives, heirs, successors, or assigns, (b) the Court, the Court staff, as well as any appellate
 2   court to which this matter is ever assigned and its staff, (c) any of the individuals identified in paragraph
 3   1.36 of the Settlement Agreement, as well as their legal representatives, heirs, successors, or assigns,
 4   (d) Defense Counsel, as well as their immediate family members, legal representatives, heirs,
 5   successors, or assigns, and (e) any other individuals whose claims already have been adjudicated to a
 6   final judgment.
 7           3.      If the Settlement Agreement is not finally approved by this Court, or if such final
 8   approval is reversed or materially modified on appeal by any court, this Order (including but not limited
 9   to the certification of the class) shall be vacated, null and void, and of no force or effect, and Apple and
10   Plaintiffs shall be entitled to make any arguments for or against certification for litigation purposes.
11           4.      Class Counsel and the Named Plaintiffs are appointed as adequate representatives of the
12   Settlement Class. Joseph W. Cotchett (of Cotchett, Pitre & McCarthy, LLP, 840 Malcolm Road, Suite
13   200, Burlingame, California 94010) and Laurence D. King (of Kaplan Fox & Kilsheimer LLP, 1999
14   Harrison Street, Suite 1560, Oakland, California 94612) are hereby appointed as Interim Co-Lead Class
15   Counsel to represent the proposed Settlement Class.
16                                        Notice to the Settlement Class
17           5.      The Court approves the Claim Form, Class Notice, and Summary Notice, which are
18   attached to the Settlement Agreement as Exhibits A, B, and C, respectively, and finds that their
19   dissemination substantially in the manner and form set forth in the Settlement Agreement meets the
20   requirements of Federal Rule of Civil Procedure 23 and due process, constitutes the best notice
21   practicable under the circumstances, and is reasonably calculated, under the circumstances, to apprise
22   members of the Settlement Class of the pendency of the Actions, the effect of the proposed Settlement
23   (including the releases contained therein), the anticipated Motion for Attorneys’ Fees and/or Expenses
24   and for Service Awards, and their rights to participate in, opt out of, or object to any aspect of the
25   proposed Settlement.
26           6.      By May 29, 2020, Apple shall, for the purpose of facilitating the distribution of the
27   Summary Notice, provide the Settlement Administrator with the names, email addresses, mailing
28   addresses, and serial numbers for the members of the Settlement Class.
                                                          3
     [PROPOSED] ORDER CERTIFYING SETTLEMENT CLASS; GRANTING PRELIMINARY APPROVAL OF CLASS
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 1          7.      By August 12, 2020, the Settlement Administrator shall complete the distribution of the
 2   email and/or postcard notices to the members of the Settlement Class, and establish the Settlement
 3   Website which shall contain all documents relating to the settlement, including the Settlement
 4   Agreement, the Class Notice, the Summary Notice, the Claim Form, and all motion papers and Court
 5   orders relating to preliminary and final approval of the Settlement. The Settlement Administrator shall
 6   send the Summary Notice via email to each member of the Settlement Class for whom Apple has a
 7   valid email address for the account of record on the Apple ID. The Settlement Administrator shall mail
 8   a postcard notice, substantially similar to the Summary Notice, to all members of the Settlement Class
 9   for whom Apple does not have a valid email address.
10                                        Settlement Administration
11          8.      The Court appoints Angeion Group to serve as the Settlement Administrator. Angeion
12   Group shall supervise and administer the notice procedures, establish and operate the Settlement
13   Website, administer the claims processes, distribute cash payments according to the processes and
14   criteria set forth in the Settlement Agreement, and perform any other duties that are reasonably
15   necessary and/or provided for in the Settlement Agreement.
16          9.      All reasonable costs of notice and costs of administering the Settlement shall be paid by
17   Apple or from the Residual, if any, as contemplated by paragraph 5.3.1 of the Settlement Agreement.
18          10.     Settlement Class Members who wish to make a Claim must do so by submitting a Claim
19   Form by October 6, 2020, in accordance with the instructions contained therein. The Settlement
20   Administrator shall determine the eligibility of Claims submitted and allocate the Settlement Funds in
21   accordance with the Settlement Agreement.
22          11.     Settlement Class Members who wish to object to the Settlement must provide: (a) a
23   detailed statement of the Settlement Class Member’s specific objections to any matters before the
24   Court; (b) the grounds for such objections and the reason such Settlement Class Member desires to
25   appear and be heard; and (c) proof of membership in the Settlement Class, as well as all other materials
26   the Settlement Class Member wants the Court to consider. The objections must be filed with the Court
27   or delivered to the Court at the following address, and received by October 6, 2020:
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     [PROPOSED] ORDER CERTIFYING SETTLEMENT CLASS; GRANTING PRELIMINARY APPROVAL OF CLASS
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 1                                       Court
                                         Clerk of the Court
 2                                       United States District Court
                                         Northern District of California
 3                                       San Jose Division
                                         280 South 1st Street
 4                                       San Jose, CA 95113

 5          12.     Any putative member of the Settlement Class who seeks to be excluded from the

 6   Settlement Class must submit a request for exclusion, which must be received by the Claims

 7   Administrator by October 6, 2020:

 8                           Claims Administrator
                             In re Apple Inc. Device Performance Litigation
 9                           ATTN: Claims Administrator
                             1650 Arch Street, Suite 2210
10                           Philadelphia, PA 19103
11   Any member of the Settlement Class who does not file a valid and timely request for exclusion shall
12   be bound by the final judgment dismissing the MDL Action on the merits with prejudice.
13                                          Final Approval Hearing
14          13.     The Final Hearing shall be held by the Court on December 4, 2020, beginning at
15   10:00 a.m., to determine whether the requirements for certification of the Settlement Class have been
16   met; whether the proposed settlement of the Actions on the terms set forth in the Settlement should be
17   approved as fair, reasonable, adequate, and in the best interests of the Settlement Class Members;
18   whether Class Counsel’s motion or application for Attorneys’ Fees and Expenses and application for
19   the Named Plaintiff Service Awards should be approved; and whether final judgment approving the
20   Settlement and dismissing the Actions on the merits with prejudice against the Named Plaintiffs and
21   all other Settlement Class Members should be entered. The Final Hearing may, without further notice
22   to the Settlement Class Members (except those who have filed timely and valid objections and
23   requested to speak at the Final Hearing), be continued or adjourned by order of the Court.
24          14.     Objections by any Settlement Class Member to (a) the certification of the Settlement
25   Class; (b) the Settlement; and/or (c) the entry of the Final Approval Order and Final Judgment, shall
26   be considered by the Court at the Final Hearing only if such Settlement Class Member files with the
27   Court a notice of his or her objections, submits documentary proof that he or she is a Settlement Class
28   Member, and states the basis for such objections, as provided in paragraph 11.
                                                          5
     [PROPOSED] ORDER CERTIFYING SETTLEMENT CLASS; GRANTING PRELIMINARY APPROVAL OF CLASS
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 1          15.     By August 26, 2020, Class Counsel shall file all papers in support of the application for
 2   the Final Approval Order and Final Judgment, any Motion for Attorneys’ Fees and/or Expenses and/or
 3   for Named Plaintiff Service Awards, and/or any response to any valid and timely objections with the
 4   Court, and shall serve copies of such papers upon Defense Counsel and upon any objectors who have
 5   complied with paragraphs 11 and 14 of this Order. All opposition papers shall be filed by October 6,
 6   2020, and any reply papers shall be filed by November 20, 2020.
 7          16.     Objections by any Settlement Class Member to Class Counsel’s request for Attorneys’
 8   Fees and/or Expenses shall be considered by the Court at the Final Hearing only if such Settlement
 9   Class Member files with the Court a notice of his or her objections, submits documentary proof that he
10   or she is a Settlement Class Member, and states the basis for such objections, as provided in paragraph
11   11, by October 6, 2020.
12          17.     Class Counsel’s motion or application for an award of Attorneys’ Fees and Expenses,
13   and costs and for the Named Plaintiff Service Awards will be considered separately from the fairness,
14   reasonableness, and adequacy of the Settlement. Any appeal from any order relating solely to Class
15   Counsel’s Motion for Attorneys’ Fees and/or Expenses, and/or for Named Plaintiff Service Awards, or
16   any reversal or modification of any such order, shall not operate to terminate, vacate, or cancel the
17   Settlement.
18          18.     Defense Counsel and Class Counsel are hereby authorized to utilize all reasonable
19   procedures in connection with the administration of the Settlement which are not materially
20   inconsistent with either this Order or the Settlement Agreement.
21

22   IT IS SO ORDERED.
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     Dated: ________________,
                     May 27 2020
24                                                Hon. Edward J. Davila
25                                                United States District Court

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     [PROPOSED] ORDER CERTIFYING SETTLEMENT CLASS; GRANTING PRELIMINARY APPROVAL OF CLASS
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